Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 1 of 21




          EXHIBIT 33
      Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 2 of 21


OFFICE OF COMPLIANCE CONSULTANTS
15 WEST 5TH STREET · HIGH IMPACT COMPOUND · MERCADO TRAILER · EAST ELMHURST, NY 11370


                                                                                           Deputy Director
                                                                                     Nicole N. Austin Best
                                                                                           (347) 381-0728
                                                                   deputydirector@compliance-consultants.us


                                                                                    June 17, 2019

By Electronic Delivery
Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

                Report on Environmental Conditions re: Benjamin v. Brann
                                                      75 Civ. 3073 (LAP)

Dear Chief Judge Preska:

       Enclosed is OCC’s report on specific environmental conditions within the NYC jails,
pursuant to the late Judge Baer’s 2001 Order on: Environmental Conditions. This report
summarizes monitoring observations during January–April 2019 and provides an update on the
Defendants’ progress with respect to related orders entered by Judge Baer.

       .

                                                           Respectfully Submitted,


                                                             Nicole N. Austin-Best
                                                             Deputy Director, OCC




       By Electronic Copy Only
       Cc: Chlarens Orsland, Esq.
           Heidi Grossman, Esq.
           Laura Mello, Esq.

           Mary Lynne Werlwas, Esq.
           Dale Wilker, Esq.
           Veronica Vela, Esq.
           Robert Quackenbush, Esq.
       Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 3 of 21

                                           TABLE OF CONTENTS

I.    INTRODUCTION…………………...…….............................….…...…………...….…….……….1

II. MONITORING OBSERVATIONS…….....…....................…………….….…...….…….….........2

        A. Sanitation………………………………………….…………....………......…….….…..…..2
                1.     DOC Sanitation Reports……………............…...…..…………..........…….........2
                                             i. Housekeeping Management Violations..................4
                                             ii. Housekeeping Compliance Percentages..............11
                                                       a. Intake Areas......................................12
                                                       b. Living Areas .....................................12

        B. Ventilation ………………………….…………….…………….……………...….….........18
                1. Defendants’ Ventilation Reports…………...…..…….……….………….…......18
                                                 i. Quarterly Mechanical Inspection Report…..………19
                                                ii. Monthly Airflow Reading Reports …………....…...19
                                                iii. Monthly Intake Ventilation Reports ….........……..20
                                                iv. Quarterly Status Reports ……....……………...…..21
                2. Windows ..............................................................................................................22

                3. Cooling in Punitive Segregation Areas.................................................................24


         C. Lighting…………………………………………………………….……….….........….....24


         D. Fire Safety………….…………………………………..………………….……...….........26
                  1. OCC Fire Safety Update (provided by Mario Antonetti)....................................26
                                                   i. Defendants’ Positiion......................................................26
                                                  ii. Benjamin Plaintiffs’ Position ..........................................27
                2.     BKDC October 7, 2018 Report ..........................................................................27
                                        i. BKDC visit to develop a plan of correction......................27
                  3.   February 14, 2019 Fire Safety Meeting..............................................................31


 III. COMPLAINTS……….….……………………………..….…………...........…………….........31



 IV. EXHIBITS


 V.    APPENDIX
Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 4 of 21




 OFFICE OF COMPLIANCE CONSULTANTS
 15 WEST 5th ST · HIGH IMPACT COMPOUND · MERCADO TRAILER · EAST ELMHURST, NY 11370




 Report on
 Environmental
 Conditions
 Benjamin v. Brann, 75 Civ. 3073 (LAP) Progress Report, January – April 2019




  Nicole N. Austin-Best
  6/17/2019
            Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 5 of 21
Benjamin v. Brann                                                                              Progress Report
75 Civ. 3073 (LAP)                                                                        January–August 2019

      I. INTRODUCTION

            The Office of Compliance Consultants (“OCC”) is authorized to monitor the

    Defendants’—the City of New York (“NYC”) and the NYC Department of Correction (“DOC”

    or the “Department”)—compliance with the Court’s mandates contained in various orders: the

    Order re: Fire Safety, dated November 13, 1998; the Order on: Environmental Conditions (the

    “Environmental Order”), dated April 26, 2001; the Order re: Testing and Repair of Ventilation

    Systems (the “Ventilation Order”), dated November 14, 2003; the Amended Supplementary

    Order re: Repair and Renovation of Ventilation Systems (the “Am. Supp. Ventilation Order”),

    dated February 11, 2009; the Amended Order re: Lighting Conditions (the “Am. Lighting

    Order”), dated October 7, 2010; the “so ordered” Stipulation concerning withdrawal of sanitation

    motions and steps to improve sanitation (the “Sanitation Stipulation”), dated October 14, 2010;

    the Supplemental Order re: Construction Projects Required by Amended Supplementary

    Ventilation Order, dated October 20, 2011; and the Second Supplemental Order re: Construction

    Projects Required by Amended Supplementary Ventilation Order, dated December 18, 2012.

            This report summarizes the status of sanitation, ventilation, lighting, and fire safety

    within various New York City jails as monitored by OCC during January–April 2019 (the

    “monitoring period”). Summaries of complaints filed with OCC by The Legal Aid Society’s

    Prisoners’ Rights Project (“LAS” or “Plaintiffs,” sometimes “Plaintiffs’ counsel”) during this

    monitoring period conclude this report. As required by the Order re: Timetable for Submission

    of OCC Progress Reports, dated January 19, 2007, a draft of this report was circulated to the

    parties for review and comment. In accordance with longstanding practice, the parties’

    comments to the draft report are incorporated into this final version and attached as an Appendix

    to this report.



             1|P a g e
             Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 6 of 21
Benjamin v. Brann                                                                                        Progress Report
75 Civ. 3073 (LAP)                                                                                  January–August 2019

             The Defendants obtained Court approval for the parties to submit their responses to the

    draft report after the May 24, 2019 deadline that would have allowed OCC to submit this final

    report by the last day of May, pursuant to this Court’s endorsed letter-order, entered September

    22, 2015. The new submission deadline for the parties’ comments was June 7, 2019, which was

    met, and OCC was required to submit the final report to the Court by June 17, 2019. Throughout

    this report, the parties’ comments to the draft report are identified as Benjamin Plaintiffs’

    Response (abbreviated as Benjamin Pls.’ Resp.) and Defendants’ Response (abbreviated as

    Defs.’ Resp.), respectively. Within their respective responses, the parties provided background

    information (some of which was previously unknown to this writer) that has been added to this

    final report. The background information is greatly appreciated because it helps to contextualize

    the progress of this litigation.

    II.    MONITORING OBSERVATIONS

          A. Sanitation
                    1. DOC Sanitation Reports

             During this monitoring period, OCC received redacted Public Health Sanitarian (“PHS”)

    reports and Environmental Health Officer (“EHO”) weekly reports from the Environmental

    Health Unit (“EHU”) on a regular basis.1 The reports submitted by the EHU included 306 PHS

    reports for inspections conducted January–April 2019 and 13 batched EHO weekly reports for

    the same period. Each PHS report was comprised of individual inspections of several intake and




             1
              By way of background, each jail has an assigned Environmental Health Officer ("EHO"), who is
             a captain trained by civilian managers (who are Public Health Sanitarians) at DOC's
             Environmental Health Unit ("EHU"), and who conduct regular sanitation inspections. In addition,
             certain areas of jails are also regularly inspected by EHU Public Health Sanitarians themselves.

    Defs.’ Resp. to Draft Report at 3.




                 2|P a g e
            Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 7 of 21
Benjamin v. Brann                                                                               Progress Report
75 Civ. 3073 (LAP)                                                                         January–August 2019

    living areas carried out on a specific date, e.g. the three January 2, 2019 PHS reports were

    comprised of inspections in the following ten locations:

                                 Facility            Locations Inspected
                                 BKDC         6A, 6B, 6C, 6D, 7A, 7B, 7C, 7D
                                 OBCC         Main Intake
                                 RNDC         Intake

    The EHO reports, by contrast, are not comprised of individual inspections, but include several

    locations on each inspection report, dated for a specific day or several days depending on the

    facility. The PHS and EHO reports are provided to OCC as individual pages of larger reports

    instead of full reports since certain of the inspections involve matters or locations that are not

    currently subject to Benjamin monitoring; accordingly, some of the report pages provided to

    OCC are redacted for the same reason. These reports provide a snapshot of the conditions

    observed by the sanitarians and officers at a given time and aid in the ongoing assessment of the

    sanitation conditions within the jails.

            The PHS reports are completed using a system developed by the Benjamin sanitation

    experts including Eugene Pepper, OCC’s consultant, and agreed to by the parties in which a total

    score of 80% or greater is considered a satisfactory outcome, except when there exists one or

    more of certain “management/sanitation” conditions. However, the reporting tool was later

    modified by the Defendants, as previously reported. The Department’s modifications removed

    all compliance indicators: the “management/sanitation compliance score,” which indicates that

    an area “meets accepted standards or requirements” with a score of “0” and, conversely, does not

    meet those standards or requirements with a score of “1”; the automatic “housekeeping

    compliance” and “total unit compliance” indicators, which individually report compliance as

    “yes” because the area “met standards or requirements” or “no” because it did not. (In response

    to the draft of this report, Plaintiffs’ requested additional information on who modified the



             3|P a g e
            Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 8 of 21
Benjamin v. Brann                                                                              Progress Report
75 Civ. 3073 (LAP)                                                                        January–August 2019

    reporting tool and where it was previously reported. Benjamin Pls.’ Resp. to Draft Report at 5.

    Those matters were addressed at length by OCC during previous progress reports, including the

    MayAugust 2015 report of which the sanitation monitoring section is appended as Exh. 1

    should there be a need for further reminders or clarification.)

            According to the sanitation inspection training material that preceded the implementation

    of the current sanitation inspection protocol, “Because these criteria are administrative and

    managerial, and because they are deemed as absolutely essential to any housekeeping and

    sanitation operation, if any single item fails to meet the compliance standards, the total unit

    compliance is deemed unsatisfactory until that deficiency is corrected.” “Housekeeping and

    Sanitation Inspection Strategy and Evaluation Matrix” at 5. Despite the removal of the

    compliance indicators, the Department reportedly “fails” areas that receive a score at or above

    80% when at least one housekeeping management violation is cited although there are no indicia

    on the form that the area did not meet standards.

                                  i.   Housekeeping Management Violations

            During the monitoring period, DOC identified twenty-nine housing areas deemed to have

    failed inspection by the Department, notwithstanding a “housekeeping compliance percentage”

    of 80%, for the following violations. As indicated in the chart below, certain areas failed

    inspection with more than one violation.




             4|P a g e
            Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 9 of 21
Benjamin v. Brann                                                                            Progress Report
75 Civ. 3073 (LAP)                                                                      January–August 2019

                                  Housekeeping Management Violations




                                                               4        2
              Cleaning and Sanitizing                                          1
              Procedures Followed

              Lack of Cleaning Chemicals


              Inadequate Cleaning
              Equipment & Equipment
              Sanitation
              Adequate Water Facilities
              Provided

                                                                       25




    Of the twenty-nine housing areas:

         Twenty-five failed the inspection due to “inadequate cleaning equipment & equipment

            sanitation.” The assessment criteria for this violation include:

                a) Cleaning equipment in poor repair or worn;
                b) Cleaning equipment is visibly dirty and possibly malodorous;
                c) Inadequate storage of housekeeping equipment;
                d) Cleaning equipment storage appurtenances not available for the sanitary and safe
                   storage of mops, brooms and brushes; [and]
                e) Par levels inappropriate to the facility or not established to meet cleaning needs.

         Three additional and one of the above-mentioned twenty-five housing areas failed the

            inspection due to inadequate water facilities, which is determined as follows:

                a) Utility sink not readily available and/or accessible.
                b) Hot and cold water of adequate flow and pressure not provided.
                c) Absence of a free-flowing drain.

         One additional and one of the above-mentioned twenty-five housing areas failed because

            the cleaning and sanitizing procedures were not followed as outlined immediately below:


             5|P a g e
           Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 10 of 21
Benjamin v. Brann                                                                                  Progress Report
75 Civ. 3073 (LAP)                                                                            January–August 2019

                a)       Uniform sanitary procedures as detailed in policies and procedures not followed.
                b)       Cleaning frequency inadequate to maintain proper sanitation.
                c)       Policy is inadequate to address soiling of the unit.
                d)       No evidence of training of inmates to housekeeping policy.
                e)       Disposable gloves and other personal protective equipment not available,
                         provided, or used as per manufacturer’s label requirements and/or institutional
                         policy.

                         Verification of these criteria is by indicating two or more of the following:
                              Lack of adherence to established policies and procedures;
                              No notation in unit log (schedule or frequency);
                              Absence of training materials or instructional postings in critical
                               housekeeping areas;
                              Direct chemical test of finished disinfectant solution;
                              Negative responses to inmate and/or staff interviews.

         One of the above-mentioned twenty-five housing areas additionally failed due to a lack of

            cleaning chemicals, which is determined as follows:

            a) Cleaning chemicals not provided at the unit.
            b) Par levels not appropriate to the unit. Verification of the deficiency is by any one of
               the following:

                         Boundary markers in inventory levels that signal replenishment is necessary not
                          established, or,
                         Amount or level considered to be adequate, not maintained, or,
                         Absence of a standard quantity as established by policy.

            OCC reviewed the inspection reports for the housing areas identified by DOC as failing

    inspection and found that twenty-seven of the twenty-nine housing areas93%did not meet

    standards due to matters with Diversey apparatuses (example pictured below), which dispense

    Diversey General Cleaner (general cleaner), Diversey Virex (sanitizing solution), and Diversey

    Stride (neutral floor cleaner). Per the Defendants, “[t]his machine was introduced to ensure that

    only officers with keys could access dangerous cleaning supplies; inmate work crews would thus




             6|P a g e
              Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 11 of 21
Benjamin v. Brann                                                                                                Progress Report
75 Civ. 3073 (LAP)                                                                                          January–August 2019

    use the substances only under proper supervision. (The previous use of soap balls has been

    discontinued).” 2 Defs.’ Resp. to Draft Report at 3.




    2
        In August 2012, Jason Echevarria, an inmate at Rikers Island, died after ingesting a “soap ball.”




                 7|P a g e
           Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 12 of 21
Benjamin v. Brann                                                                                 Progress Report
75 Civ. 3073 (LAP)                                                                           January–August 2019

              In addition to the violations that caused housing areas to fail the PHS inspections, as

    reported by DOC, OCC noted that there were similar violations cited by EHOs during their

    inspections, several of which, if not all, were related to Diversey dispensers:

   1.   AMKC Quad 11 U (2/12/19)           8.    AMKC West 18 LA (1/4/19)       15.   MDC 10 West (2/18/19 - 2/22/19)
   2.   AMKC West 17 L B (1/18/19)         9.    AMKC West 18 LA (2/19/19)      16.   MDC 11 East (2/18/19 - 2/22/19)
   3.   AMKC West 17 LB (1/4/19)           10.   AMKC West 18 LA (2/29/19)      17.   MDC 11 West (2/18/19 - 2/22/19)
   4.   AMKC West 17 LB (2/19/19)          11.   AMKC West 18 LA (3/29/19)      18.   MDC 4 West (2/11/19 -2/15/19)
   5.   AMKC West 17 LB (2/29/19)          12.   AMKC West 18 Upper (1/17/19)   19.   MDC 7 West (2/11/19 -2/15/19)
   6.   AMKC West 17 LB (3/29/19)          13.   GRVC 10A (2/17/19- 2/23/19)
   7.   AMKC West 18 L A (1/18/19)         14.   GRVC 8B (2/17/19- 2/23/19)

    Further, Plaintiffs’ counsel reported a complaint, on March 6, 2019, from AMKC Quad 11 Upper

    “that the utility sink soap dispenser for mopping the floors has been broken for a year. As a result,

    officers must pour out soap from a container that is kept in the A station.” OCC staff investigated

    the complaint and confirmed it was broken “for a long while" as reported by facility staff, who also

    reported it was repaired shortly after the complaint. There were no log entries found regarding this

    matter.

              The foregoing set of circumstances prompted OCC to survey facilities for additional

    instances of housekeeping management violations involving Diversey dispensers that were not

    reported to OCC by the Defendants. OCC compiled a non-exhaustive list of 110 additional

    instances and provided same to the parties. The Defendants acknowledged these issues, stating,

    “To date, these machines have in fact been in need of frequent repair, and EHU keeps supplies of

    hoses and locks in the storehouse that are distributed to the facilities as needed. While most

    repairs can be effectuated in-house, the manufacturer is called in on occasion to service machines

    . . . .” Defs.’ Resp. to Draft Report at 3. Plaintiffs emphasize that OOC’s findings were not

    exhaustive as OCC did not review every area and affected areas could not be properly cleaned




               8|P a g e
           Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 13 of 21
Benjamin v. Brann                                                                              Progress Report
75 Civ. 3073 (LAP)                                                                        January–August 2019

    when the machines were broken unless the Department implemented some other measure.

    Benjamin Pls.’ Resp. to Draft Report at 6.

            The Defendants have not reported implementing additional measures and, as stated, in their

    abovementioned response to the draft of this report, the Department’s only solution is to repair the

    broken machine. This is illustrated by the March 6, 2019 complaint referenced above that was

    investigated by OCC and for which the machine remained broken for an inordinate period with no

    remedy provided to the housing area other than to file a complaint. On June 7, 2019, the Defendants

    confirmed that the machine was broken and parts needed to be replaced, but was unable to confirm

    the completion of the work. Defs.’ Resp. to Draft Report at 11.

                o Presence of Vermin or Indicator Organisms

            An additional component of the Housekeeping Management assessment is the Presence of

    Vermin or Indicator Organisms, which unlike the other components, does not cause the Department

    to fail an inspection.

            This criterion is listed under the management section because the presence of vermin or
            indicator organisms requires subsequent action by the correctional staff in reporting the
            observable condition. However, no further action on their part is necessary unless so
            directed. If an observation is made, that observation is informational only and does not
            factor into the overall unit compliance unless it remains unreported or uncorrected.

    “Housekeeping Inspection Matrix” at 12.

            The Defendants complied with the reporting requirements and requested an exterminator for

    each of the reported vermin indicators. During an inspection, the indicators in this category include

    “[v]ermin whose presence in the environment indicates conditions of filth, chronic wetness or the

    presence of contaminating substance(s); primarily organic matter. Examples include fruit flies,

    sewer flies, pill bugs, silverfish and houseflies, among others (Arthropods).” Id. at 8. The




             9|P a g e
            Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 14 of 21
Benjamin v. Brann                                                                                   Progress Report
75 Civ. 3073 (LAP)                                                                             January–August 2019

    Defendants’ reported such vermin in housing areas that failed due to other housekeeping

    management violations:

           MDC 8 East (2/13/2019): “several filth flies noted”
           MDC 11 East (4/3/2019): “several maggots and filth flies noted”
           MDC 11 West (4/3/2019): “several filth flies noted”
           OBCC 2 Southwest (4/12/2019): “more than ten live roaches noted crawling on wall/floor”

             Additionally, DOC staff reported indicator vermin in more than an additional 250 instances

    during the monitoring period, including:

      AMKC Dorm 2 Upper (4/11/2019) ants                             BKDC5 Lower C (4/14/2019) mice
      AMKC Dorm 3 Top (4/15/2019) maggots                            BKDC 5 Lower D (4/14/2019) mice
      AMKC Mod 1 Upper A (4/15/2019) excess flies                    GRVC 5A (4/15/2019) ants
      AMKC West 18 Upper A (4/15/2019) drain flies                   OBCC 2 Upper (4/14/2019) flies
      BKDC 7 Lower D (4/10/2019) mice                                RMSC 1 East B (4/8/2019) ants
      BKDC5 Lower A (4/14/2019) mice                                 MDC 4 South (2/26/2019) filth flies
      BKDC 5 Lower B (4/14/2019) mice

             DOC facility staff further reported infestations in certain facilities:

     Facility        Housing Area      Date        Reported Infestation           Location
     AMKC            Quad 3 Upper      1/25/2019   “ant infestation”              cell# 6
     AMKC            Quad Upper 6      1/16/2019   “mice infestation”             dayroom, cell, and common area
     AMKC            Quad 10 Lower      1/2/2019   “mice infestation”             both sides entire area
     AMKC            Quad 10 Upper      2/1/2019   “rodent / mice infestation”    dayroom
     AMKC            Quad 11 Lower      1/3/2019   “mice infestation”             entire area
     AMKC            Quad 12 Upper      2/2/2019   “rodent infestation”           entire area
     AMKC            Quad 13 Upper      1/3/2019   “rodent infestation”           whole housing area
     AMKC            Quad 18 Upper     3/29/2019   “ants and flies infestation”   tier, janitor's closet, and dayroom
     AMKC            West 17 Lower A   3/27/2019   “bug infestation”              shower area
     AMKC            West 17 Lower A   3/24/2019   “bug infestation”              shower area
     AMKC            West 17 Lower A    4/3/2019   “insect infestation”           shower area
     BKDC            3 Lower B         4/11/2019   “rodent infestation”           common area
     BKDC            7 Lower D         4/10/2019   “rodent infestation”           common area
     NIC             1st floor         3/11/2019   “water bug infestation”        1st floor bathroom
     RMSC            5A                3/31/2019   “bed bugs infestation”         living area
     RMSC            Bldg. 3           2/28/2019   “ant infestation”              cell #5
     RMSC            Bldg. 3            2/6/2019   “ant infested”                 cell #5
     RMSC            Bldg. 6           3/23/2019   “ant infestation”              showers




                10 | P a g e
           Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 15 of 21
Benjamin v. Brann                                                                               Progress Report
75 Civ. 3073 (LAP)                                                                         January–August 2019

    An infestation is when vermin are observed in numbers or quantities large enough to be harmful,

    threatening, or obnoxious. Determination of an infestation is also through the observation of

    multiple signs such as the presence of feces, rub marks and/or gnawing damage; detection of

    multiple instars (stages of development) of arthropods is considered an infestation. Id.

            The Defendants claim that the vermin sightings discussed herein are done so “as a

    component of the sanitation order; however, the vermin order was terminated many years ago.”

    Defs.’ Resp. to Draft Report at 3. OCC reminds the Defendants of their obligations pursuant to

    the Sanitation Stipulation, dated October 14, 2010, at ¶ 5 (A), which lists “vermin exclusion” as

    one of the “training and supervision concerns to be addressed” by the Department. Moreover, as

    noted in the beginning of this discussion on the presence of vermin, it is one of the assessment

    areas on the sanitation inspection form that was designed by the experts and agreed to by the

    parties in this litigation. Ultimately, the Defendants have acknowledged the ongoing issues with

    the presence of vermin:

            Until recently, each facility had an assigned exterminator to ensure proper sanitary
            standards. Within the last two months, two exterminators retired and two transferred to
            the New York City Housing Authority, resulting in some exterminators now covering
            two facilities. However, the job openings have been posted and DOC anticipates filling
            the four vacant slots. In addition, the EHU has its own supervising exterminator, who
            reviews monthly exterminator reports, assists in compliance, and will respond to any
            apparent infestation.

                                ii. Housekeeping Compliance Percentages

            The foregoing discussion focused on housing areas that received a housekeeping

    compliance percentage of at least 80% after inspection by a Department sanitarian yet failed

    inspection due to certain violations. As noted earlier, 80% is the agreed upon minimum

    compliance percentage for the Department to meet accepted sanitation standards. OCC reviewed

    166 randomly selected PHS reports: 159 inspections were conducted in housing and intake areas,




             11 | P a g e
             Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 16 of 21
Benjamin v. Brann                                                                                       Progress Report
75 Civ. 3073 (LAP)                                                                                 January–August 2019

    5 housing areas were closed during the PHS visits, and 2 intake areas were not inspected due to

    security related incidents. Per the Department’s compliance percentage scoring, 31 (19%) of the

    areas inspected did not meet standards and 1283(81%) met standards.

                       a. Intake Areas

              This consultant reviewed fourteen inspections that the EHU’s sanitarians conducted in

    intake areas. The compliance percentages for those areas ranged from 71.2% in MDC Intake

    (1/24/19) to 97.1% in NIC Annex Intake (1/18/19). In the intake areas, two (or 14.3%) PHS

    inspections yielded a compliance percentage less than 80.0%. The remaining twelve (or 85.7%)

    PHS inspections yielded at least 80.0% (nine (or 64.3%) ranged from 83.0% to 89.8% and three

    (or 21.4%) ranged from 91.5% to 97.1%).

              The cleanliness of the intake areas are assessed similarly to the living areas, as described

    below:
                       b. Living Areas

              Every living area (cells, dormitory, and modular sleeping areas, and showers/bathrooms
              and dayrooms in each of these units) shall be thoroughly cleaned and sanitized each week
              . . . . Every cell shall be thoroughly cleaned and sanitized upon becoming vacant, shall be
              kept clean of garbage and debris while vacant, and shall be inspected prior to
              reoccupancy to ensure that it is cleaned and sanitized . . . . Each housing area shall have
              an adequately ventilated janitor [sic] closet equipped with a sink, or accessible to a sink,
              and shall have an adequate supply of cleaning implements and supplies, accessible to all
              detainees, so that each detainee can clean his cell daily and so that common areas of the
              housing blocks can also be cleaned. All cleaning implements shall be cleaned thoroughly
              after each use and stored in a clean, adequately ventilated place.

        Environmental Order ¶ 11(c)–(g).

              The range of compliance percentages for the 145 PHS inspections of living areas

    reviewed by this consultant were from 70.0% in BKDC 9D on 1/15/19 to 96.8% in MDC 4West

    on 4/10/19. In the living areas, 26 (or 17.9%) PHS inspections yielded a compliance percentage

    3
     An additional three housing areas scored above 80%; however, they did not meet standards due to housekeeping
    management violations.




               12 | P a g e
           Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 17 of 21
Benjamin v. Brann                                                                                      Progress Report
75 Civ. 3073 (LAP)                                                                                January–August 2019

    less than 80.0%. The remaining 119 (or 82.1%) PHS inspections yielded at least 80.0% (92 (or

    63.4%) ranged from 80.0% to 89.7% and 27 (or 18.6%) ranged from 90.0% to 96.8%).

             OCC, however, believes that the Department’s scoring practice results in artificially

    inflated compliance percentage scores and illusory compliance, in certain cases. For example,

    the following housing areas that the EHU identified as compliant, did not meet standards:

         AMKC    Quad 15 Lower* (3/6/2019) 78.26%                BKDC 7B (2/5/2019) 77.27%
         AMKC    West 18 Upper A (3/19/2019) 78.26%              BKDC 7B (4/3/2019) 77.27%
         BKDC    5D (2/14/2019) 77.27%                             GRVC 19A (2/28/2019) 78.00%
         BKDC    6A (2/5/2019) 78.33%                              MDC 6 West (3/12/2019) 78.18%
         BKDC    6C (2/5/2019) 77.27%                              RMSC 5 South B (1/30/2019) 79.55%
         BKDC    6C (4/3/2019) 77.27%                              VCBC 1BB (3/20/2019) 79.55%
    *The EHU identified this area as not passing inspection due to one of the aforementioned housekeeping management
    violations; however, the area actually has a compliance score of less than 80%.

             The Defendants acknowledge that their current method of scoring inspections needs to be

    rectified and reported “[t]he DOC is attempting to computerize the inspection process, so that

    inspectors do not have to manually compute individual scores.” Defs.’ Resp. to Draft Report at

    2. OCC clarifies for the Court that the scores do not have to be calculated manually and that

    initially, the DOC bought computer tablets to use while conducting the inspections. Before the

    Defendants’ modifications, the tool was designed to compute the percentages and automatically

    identify compliant from noncompliant areas. In the original design, the compliance percentages

    are automatically calculated when the inspection reporting form is used because the formula is

    embedded in the tool, an Excel spreadsheet.

             Manually, the compliance percentages can be calculated as follows:

                                𝑡ℎ𝑒 𝑠𝑢𝑚 𝑜𝑓 𝑡ℎ𝑒 𝑐𝑜𝑚𝑝𝑜𝑛𝑒𝑛𝑡 𝑡𝑟𝑒𝑛𝑑 𝑠𝑐𝑜𝑟𝑒𝑠
                                                                      −1
                                          𝑡ℎ𝑒 𝑐𝑜𝑢𝑛𝑡 𝑜𝑓 𝑠𝑐𝑜𝑟𝑒𝑠

    For example, in AMKC West 18 Upper A (3/19/2019), the sum of the component scores is 10

    and the count of scores is 53; thus, the equation: 10÷ 53 = .18867925. 1 is then subtracted


              13 | P a g e
           Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 18 of 21
Benjamin v. Brann                                                                              Progress Report
75 Civ. 3073 (LAP)                                                                        January–August 2019

    from the result, which is .8113207 or 81.13% (when the EHU’s ratings are left in place). The

    EHU’s compliance percentages are artificially inflated primarily due to its practice of adding

    compliant sanitation lighting scores for areas that were not assessed for sanitation lighting.

    When the sanitation lighting scores are removed for the locations not inspected for sanitation

    lighting, the equation is 10÷ 46 =.2173913, and when 1 is subtracted, the score is .7826087 or

    78.26%. Clearly, it was the EHU’s scoring practice that made the area seem to meet standards,

    when, in fact, it did not.

            To be clear, the compliance percentages calculated by OCC in the foregoing examples do

    not include an assumption of inadequate sanitation lighting. The calculated percentages only

    remove lighting from the equation where it was not assessed objectively, i.e. measured to

    produce a foot-candle reading. If the sanitation lighting conditions in the foregoing examples

    were deemed inadequate, the calculated percentages would be lower, but since there are no light

    readings to refer to in certain inspected areas, the locations were treated as if they were not

    inspected for sanitation lighting. This is integral to the integrity of the system because the

    sanitation inspection protocol uses a Boolean system for calculation, meaning there are only two

    possible outcomes; therefore, values—“1” for inadequate or “0” for adequate—must be noted for

    inspected items only. There is no allowance for an uninspected item to be scored under this

    system. Items not inspected during the inspection must be left blank, or the entry will be

    calculated in the overall result.

                o Sanitation Lighting

            Generally, this writer agreed with the characterization of deficiencies cited by the

    sanitarians; however, as stated above, one exception is the practice of determining lighting to be

    adequate when the lighting was not measured, i.e. light readings were not recorded, and in



             14 | P a g e
           Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 19 of 21
Benjamin v. Brann                                                                                   Progress Report
75 Civ. 3073 (LAP)                                                                             January–August 2019

    certain cases, in spite of several inoperable lights. Such practices not only undermine the

    objectivity of the sanitation protocol, but also hinder the progress of this litigation.

            Light readings were not recorded in the cells or at the dormitory beds during any of the

    inspections, yet the lighting conditions were deemed adequate in every instance. Certainly,

    measuring the light levels in all areas where the adequacy of sanitation lighting is being

    determined is reasonable and not beyond the scope of a sanitarian’s duty. Further, the

    sanitarians’ individual inspection practices undermine the EHU’s compliance determinations.

    Keeping with the example of AMKC West 18 Upper A (3/19/2019), the sanitarian did not record

    light readings in any of the seven locations rated as compliant with lighting standards; yet, by

    comparison, in VCBC 1BB (3/20/2019), the sanitarian recorded light readings in three of the

    seven locations rated as compliant.

            In contrast to the PHS practice of rating lighting as adequate in areas where lighting

    levels were not recorded, the EHOs report lighting as inadequate in areas where lighting levels

    were not recorded. For example, during the week of 2/18/20192/22/2019, MDC reported

    “inadequate lighting” in the following locations:

         7 West “janitor’s closet”          10 West “upper and lower tier showers”; “janitor’s room”
         9 East “janitor’s closet”          11 East “lower tier stall 2”
         9 West “shower stall #2U”          11 West “lower tier stalls”; “storage and storage corridor”

            The existence of a standard should necessitate its application in all instances that may

    benefit from its use, particularly in this litigation, which has seen the sanitation compliance

    assessment process reach a level of objectivity that has taken years to achieve. Certainly, it has

    already been determined that sanitation compliance uses a standard of 10 foot-candles in specific

    areas: “With regard to the provision of sufficient lighting for cleaning purposes in all toilets and

    shower areas and janitor [sic] closets that lack it, [D]efendants shall in the course of performing



             15 | P a g e
           Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 20 of 21
Benjamin v. Brann                                                                                    Progress Report
75 Civ. 3073 (LAP)                                                                              January–August 2019

    the Construction Plan or otherwise provide no less than 10 foot/candles [sic] of lighting in each

    such area.” Benjamin Sanitation Maintenance Plan at 3. In most cases, the sanitarians recorded

    lighting levels in toilet and shower areas and in janitors’ closets, but, as stated above, the lighting

    was determined adequate even when foot-candles were not recorded. It is OCC’s position that

    the existing standards should be applied consistently in all cases so that years of progress do not

    come to a halt; what is more, the EHU should require light readings to be taken in every instance

    where lighting is being assessed.

            As a reminder, the matter of the EHU assessing a location as compliant without obtaining

    light readings is not a new topic and is inconsistent with the training and practice of the expert

    sanitarians. During the 2011 expert sanitation inspection, Mr. Pepper (OCC), Dr. Powitz (LAS),

    and Mr. Balsamo (DOC) each assessed lighting as adequate or inadequate only after measuring

    the light levels. This applied to sleeping areas, dayrooms, and common areas, as well as to the

    showers, bathrooms, and janitors’ closets. After the 2011 inspection, the experts raised this issue

    with the Defendants, who replied:

            The Department believes that once again the bar is being raised. Although not required
            by the Lighting Order, the Department agreed to provide 10 foot candles of light in the
            janitor closet, bathroom, and showers. However, the Department did not agree to provide
            10 foot candles of light in the dayroom and sleeping areas; yet, during the inspection, the
            consultants held the Department accountable for providing 10 foot candles in the
            dayroom and in the dormitory sleeping areas.

    “Response to Environmental Inspection Reports for New York City Jail Facilities on Rikers

    Island Conduced on November 28–December 1, 2011,” Att. D at 4. Notwithstanding the

    Defendants’ protestations, Mr. Pepper opined:

            Lighting should be adequate enough for cleaning personnel to see soil or soap residues on
            surfaces. The American Public Health Association Standards for Health Services in
            Correctional Institutions recommends minimum light intensities for toilets and
            washrooms be 20 foot candles, and for corridors and exit ways 10 foot candles. This
            consultant continues to recommend that the utility/janitor closets should have a minimum
            of 20 foot candles of lighting as well to better facilitate proper cleaning of these closets.



             16 | P a g e
           Case 1:21-cv-09012-DLC Document 41-33 Filed 10/24/22 Page 21 of 21
Benjamin v. Brann                                                                              Progress Report
75 Civ. 3073 (LAP)                                                                        January–August 2019



    “2013 Environmental Health Inspections for New York City Jail Facilities at Rikers Island,” at

    16. Puzzlingly, referring to this quote by Mr. Pepper, the Defendants claim that OCC

    recommends for DOC to provide 10 foot-candles of light in dayroom and sleeping areas. No

    such assertion is evident in Mr. Pepper’s language. The Defendants’ confusion may stem from

    their own response quoted here immediately above Mr. Pepper’s quote. Nevertheless, it appears

    the Defendants do not intend to measure the light levels in sleeping areas, dayrooms, and

    common areas during EHU’s sanitation inspections. Regardless of whether the Defendants

    implement lighting monitoring in all areas during the EHU’s sanitation inspections, the

    sanitarians should, at least, refrain from assessing lighting as adequate in locations, including

    bathrooms, showers, and janitors’ closets, when light levels are not recorded since this practice

    artificially inflates the sanitation compliance percentages.




             17 | P a g e
